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                         EXHIBIT C
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Andre Dickens                CITY OF ATLANTA                                Mikita K. Browning
  MAYOR                  DEPARTMENT OF WATERSHED MANAGEMENT                 COMMISSIONER
                                 72 Marietta Street, NW
                                 Atlanta, Georgia 30303




 Electronic Delivery


 April 19, 2024

 Ms. Johanna Smith, P.E.
 Program Manager
 Georgia Department of Natural Resources
 Environmental Protection Division
 Watershed Protection Branch
 2 Martin Luther King, Jr. Drive, Suite 1462
 Atlanta, GA 30334

 Subject:       Response to Notice of Violation
                RM Clayton Water Reclamation Center (WRC)
                NPDES Permit No. GA0039012

 Dear Ms. Smith:

 The City of Atlanta Department of Watershed Management (DWM) is submitting this
 response to address the Environmental Protection Division’s (EPD) March 22, 2024,
 Notice of Violation (NOV) and accompanying Inspection Report. DWM appreciates the
 additional time granted to review the NOV and Inspection Report and provide a
 comprehensive response to the NOV. This response will provide additional background
 information regarding the matters identified in the Inspection Report and convey the
 scope of corrective actions that were ongoing at the time of the inspection and are
 continuing to date. Notably, by June 1, 2024, seven of the ten secondary clarifiers are
 anticipated to be online, continuing to be supplemented by eight mobile clarifiers and
 chlorination/dichlorination to augment the UV disinfection system. All primary clarifiers
 are anticipated to be online by June 30, 2024. DWM believes that this information will
 demonstrate that it continues to implement appropriate management, operation and
 maintenance programs and invest the needed resources to support efficient and
 compliant operations at the RM Clayton WRC.
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The NOV and Inspection Report identify several operational issues leading to
exceedances of permit effluent limits at the RM Clayton WRC. These operational
conditions were primarily the result of events beyond the control of DWM, starting with a
series of illicit discharges/slug loadings to RM Clayton WRC on or around March 27, 2023,
May 20, 2023, and May 26, 2023, significantly impairing the biological processes and
causing an upset at the plant’s secondary clarifiers. This was followed by extreme
weather events in January 2024, and compounding wet weather events in February and
March 2024, that challenged a system that was still recovering from the illicit
discharges/slug loadings and caused other damage to plant equipment. The timeline and
narrative provided below will lend greater understanding of the events and DWM’s actions
in response to the events. The Corrective Action Plan (Appendix A), which is already
underway, describes the actions and schedule for restoring full operational capacity and
sustained compliance at the RM Clayton WRC.

For additional context, the sampling data from before, during and after these events show
the impact these events had on the RM Clayton WRC. The data show that the facility was
in compliance with effluent limits the months prior to the illicit discharges/slug loadings.
The data also show that, by the summer of 2023, the facility was recovering from the
March and May illicit discharge/slug loading events, which had resulted in a decimation
of the facility’s biota. However, as explained below, extreme wet weather events in
January 2024 pummeled the positive measures taken by DWM to restore the capacity of
the secondary clarifiers, resulting in additional exceedances. As the data also show, the
corrective actions DWM has been implementing at the facility are having the intended
effect. Overall, the facility has been trending towards sustained compliance with the
NPDES Permit’s effluent limitations. Significantly, recent sampling indicate that the RM
Clayton WRC discharges comply with E. coli effluent limitations. Other effluent limitations
are trending toward compliance. Corrective actions to ensure sustained compliance with
all effluent limits are in place and are described below.

Three Consecutive and Cumulative Illicit Discharge/Slug Loading Events Caused
Major Upset at RM Clayton WRC

The RM Clayton WRC experienced three significant illicit discharge/slug loading events
of an odorless, colorless high ammonia nitrogen substance on or about March 27, 2023,
May 20, 2023, and May 26, 2023, leading to a major upset of the biological processes at
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the facility.1 Notably, 9 of the 10 secondary clarifiers were in full operation and one in
hydraulic mode prior to the illicit discharges. Each of these illicit discharges was
individually significant enough to impair treatment capabilities at the RM Clayton WRC;
however, the three illicit discharge events in a row had dramatic impacts. The May 26,
2023, illicit discharge was the worst of the three, delivering an overwhelming impact that
completely decimated the active biota (bugs) critical to the treatment process of the
facility’s secondary clarifiers. These were unprecedent conditions that could not be
anticipated by DWM.

In addition, the illicit discharge/slug loading also created issues with the Biological
Nutrient Reduction (BNR) basins. Nitrifying bacteria are very sensitive to a plant upset as
triggered by the illicit discharge/slug loading to the RM Clayton WRC. This resulted in
both the nitrifying and denitrifying bacteria dying and sludge loss settleability. Such
disruption in the biological process impacts biochemical oxygen demand (BOD),
ammonia nitrogen and phosphorous removal.

Under normal operations, sludge from the BNR Basins is routed to the secondary
clarifiers, with 40% of the sludge recirculated to the BNR Basins. This recirculation of
sludge provides bacteria to mix with the incoming sewage for the treatment process. As
a result of the illicit discharge/slug loading, this process was interrupted and resulted in
sludge bulking in the secondary clarifiers, allowing sludge to rise, collect on the surface
of the secondary clarifier and float over the clarifier weirs to the clarifier effluent channel,
producing a turbid effluent. The effluent filters became overloaded with a related loss of
efficiency of the UV disinfection system, resulting in effluent exceedances for ammonia,
E. coli, total suspended solids (TSS) and chemical oxygen demand (COD).

DWM acted swiftly in response to each of these upset events. The events/upsets were
reported to EPD in conformance with Permit Requirement Part II.12 and 40 CFR §
122.41(n). Mitigation plans immediately were initiated for each upset to restore the
biological processes of the secondary clarifiers following each event. This included
hauling sludge to the RM Clayton WRC from the nearby Utoy Creek WRC to provide
viable bacteria to the BNR Basins. Additionally, nitrifying bacteria were purchased and
fed into the BNR Basins along with micronutrients to recover the treatment process.
Furthermore, to facilitate settling of sludge in the secondary clarifiers, polymer,
magnesium and polyaluminum chloride chemicals were used to increase settleability,


1
 EPD’s May 30, 2023 Report of its Compliance Evaluation Inspection (CEI) noted that “[a]t the time of
EPD's inspection, the facility was experiencing an unexpected upset resulting in equipment not operating
as normal.”
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remove phosphorus, and control odors. As stated above, restoration efforts were
hampered by each new event. However, within thirty days after each, March 2023 event
and May 2023 collective events, plant mitigative measures supported restorative
operations, and monitoring data indicate that conditions had stabilized.

As noted in our June 5, 2023, letter to EPD outlining DWM’s WRC Project Plan of Action
(Appendix B), DWM conducted in-depth investigations into the possible source of the illicit
discharges/slug loadings. Among other things, the Industrial Monitoring Team completed
site visits with all industrial users. Receipt of septic sewage at RM Clayton WRC was
stopped while DWM pursued identification of the source of the illicit discharges. Although
the source of the discharges could not be identified, all of the illicit discharges/slug
loadings shared the same characteristics - very high in ammonia nitrogen and was
odorless and colorless, making it difficult to detect. None of the pollutants were consistent
with industrial discharges received by RM Clayton WRC through its Industrial Discharger
program. The discharges also were not consistent with oils, fuels or pesticides that may
make their way into stormwater.

Extreme Weather Events Challenged Ongoing Corrective Actions

By the beginning of 2024, the biota of the secondary clarifiers had been mostly restored
but still in a fragile condition. This fragile condition was stressed further when the RM
Clayton WRC experienced exceptionally high influent flows from extreme weather lasting
over a 48-hour duration on January 8 – 9, 2024. These impacts were related to a widely
reported emergency winter storm event with widespread impacts in the Atlanta area,
including heavy rains, winds and severe thunderstorms with widespread flooding and
damage.2 With this event and the collection system’s response from flow received from
the contributing Peachtree Creek, Nancy Creek, and Proctor Creek Basins, the plant
received sustained peak flows of 220 mgd, stressing the plant operating capacity. The
Nancy Creek Tunnel, providing flow equalization, was at 95% capacity. In addition,
subsequent storm events in February 2024 and March 2024 further frustrated RM Clayton
WRC’s recovery from the January 2024 event.

The large storm event caused or contributed to the following significant and subsequent
cascading impacts to the RM Clayton WRC’s treatment system:

        Bar and Drum Screens. A large piece of metal or plywood obstructed the bar
         screens, which resulted in having to bypass flow to the primary clarifiers to prevent

2
  These storm events were reported widely in the news. Georgia weather storm metro Atlanta live updates Jan. 9 |
11alive.com; Atlanta weather: Strong storms, heavy winds possible Tuesday (fox5atlanta.com); Flooding, severe
storms possible as system moves across Georgia into weekend | Georgia Public Broadcas ng (gpb.org)
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        an unpermitted discharge of untreated sewage and potentially a major spill to the
        residential area surrounding the facility. This initial obstruction and bypass
        increased the impacts on and clogging of the primary and secondary clarifiers.
        Influent debris also clogged ancillary equipment such as pumps, and deposited
        materials impacting other operating mechanics such as rake arms, baffles, and
        aeration diffusers. All of these components needed to be cleaned, repaired or
        replaced.

        Primary clarifiers. Bypassed flow and debris from the bar and drum screens
        impacted the treatment efficiency of the primary clarifiers. Debris clogged the
        primary clarifiers causing a decrease in treatment capacity.

       Secondary Clarifiers. Debris from the large storm event further stressed the
        operation of these units by impacting the skimmer arm system and bottom sludge
        collector mechanisms. This was compounded with damaged center support
        columns in three of the secondary clarifiers, requiring extensive repairs.

       Impacts to Recovery of Biological Secondary Treatment. RM Clayton WRC’s
        secondary treatment processes were pummeled by these extreme compounded
        rain events at the most inopportune time when the secondary clarifiers were just
        restoring their biological capacity. Denitrified sludge resulting from diminished
        biological activity reduced the settleability of the solids and continue to be impacted
        by large amounts of debris entering the treatment process.

       Impacts on Disinfection. The parameter exceedances associated with high TSS
        loadings also attribute to other parameter exceedances such as phosphorus, COD,
        fecal coliform, and E. coli due to the impact of the biological nutrient removal,
        clarification, and disinfection process using UV light penetration. The sensitivity of
        these treatment processes is also impacted by the debris and other inorganics that
        passed through the primary treatment process during these sustained high flow
        periods and entered the secondary clarifiers and process systems.


DWM Engages in an Aggressive State of Recovery

RM Clayton WRC has been in an aggressive state of recovery since March 2023.
Corrective measures were commenced following each adverse event. DWM’s April 2,
2024, Notice Concerning Endangering Waters of the State to EPD describes in detail the
corrective actions taken to specifically address the root cause of the condition causing
the noncompliance to bring the plant effluent conditions back into a state of continued
compliance (Appendix C). These corrective actions commenced prior to EPD’s March 7,
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2024, inspection and a number of the corrective actions have now been completed. Plant
operations have now focused on bringing critical processing units to a fully operational
status. It must be noted, at no time have plant operations been offline, although
processing units have been impacted by the repeated high flow conditions.




Completed corrective actions include:

       Bar and Drum Screens. As of April 19, 2024, all bar and drum screens and
        components were cleaned, repaired, or replaced, and all screens are now
        operational. Restoration of the bar and drum screens significantly impacts the
        clarity and treatability of the flow through the removal of coarse and fine
        screenings.

       Primary Clarifiers. Although no structural, mechanical, or electrical issues have
        been identified related to the storm events, all the clarifiers needed to go through
        the laborious process of completely cleaning, grinding up debris, flushing and
        draining debris from each unit. To date, three of the eight primary clarifiers are
        operational, with the remaining five anticipated to be returned to service by the
        June 30, 2024.

        Secondary Clarifiers. Seven of the ten secondary clarifiers are anticipated to be
         online as of the June 1, 2024. Clarifier Nos. 1, 2, 4, and 10 have been repaired
         and currently are online. Clarifiers Nos. 3, 7, and 9 require repairs to rotating arms
         and all are anticipated to be back in service by June 1, 2024. The remaining three
         clarifiers require more extensive repairs that are estimated to be complete
         December 31, 2024.

        UV Disinfection System. All four UV trains continue to be operational, a condition
         that was present prior to the EPD Inspection. However, it should be noted that the
         Disinfection Photos included in the Inspection Report are not the UV System but
         rather is a historical effluent bypass channel that has not been used since 2013.

        Other Repairs. Additional repairs have been completed of items identified in the
         March 7, 2024, Inspection Report. These measures include replacement of the
         outfall signage, safety measures reinstituted at the bar screen open area,
         eyewash station repairs and UV bypass channel to removal vegetational growth.
Ongoing Corrective Actions include:
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       Restoration of Biological Processes. Corrective actions were undertaken after
        each of the illicit discharges/slug loading and major storm events to restore the
        healthy bacteria population and promote solids removal. These actions include
        bringing in batches of nitrifying bacteria and micronutrients to return the biological
        process as well as modifying chemical dosing to promote ammonia removal, solids
        settling, and disinfection. It was recognized that these actions were the most
        effective for achieving permit compliance and protecting the receiving waters.

       Secondary Clarifier Priority. The current operations have focused on preventative
        and corrective maintenance on the secondary clarifiers. Clarifier Nos. 5, 6, and 8
        require a complete rebuild due to extensive damage following the January 9-10,
        2024, storm event, with the center columns needing replacement. Bids have been
        requested for this rebuild and, at this time, all repairs are estimated to be complete
        by December 31, 2024.

       Augmentation with Mobile Clarifiers. To augment solids removal of the secondary
        clarifiers, a total of eight mobile high-rate clarifiers have been deployed and will
        remain operational onsite until all secondary clarifiers have been placed in a full
        operational mode. A mobile centrifuge is also in operation to support sludge
        dewatering for disposal.

       Disinfection Augmentation. The disinfection process is also augmented with the
        dosing of chlorine prior to the UV disinfection stage. This action provides improved
        treatment to reduce the E. coli levels experienced due to high turbidity and
        subsequent diminished UV light penetration necessary for bacteria destruction.
        Once BNR and clarification processes are fully restored, solids settling will improve
        UV penetration effectiveness. Upon this occurrence, chemical disinfection can be
        removed.
   DWM’s Path Forward – Sequential Repairs to Prioritize Operational Efficiency

   As set forth in DWM’s Corrective Action Plan (Appendix A), DWM’s strategy is to
   prioritize repairs and operations of units most critical to operational efficiency:

           Priority One – Secondary Clarifiers. Returning the secondary clarifiers to full
            operation is highest priority because of the critical role that the secondary
            clarifiers play in reducing the solids, which, in turn, will greatly improve the
            disinfection process. The mobile clarifiers will remain in place until the
            secondary clarifiers are fully operational.
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            Priority Two – Primary Clarifiers. Next, addressing the primary clarifiers will
             reduce the organic and solids loading on the BNR basins, impacting aeration
             required for BOD and nitrification (ammonia removal).

            Priority Three – BNR Basins. The BNR basins will then be addressed to better
             improve the nitrification process and ammonia removal from wastewater.

As can be seen from the above discussion, the City has been proactive in addressing the
unprecedented impacts on the RM Clayton WRC as a result of the illicit discharges/slugs
that caused pass through, and interference and upsets of the facility’s treatment
processes. Additional response actions were necessary as a result of extreme wet
weather events a few months later, which had cascading impacts on the treatment
capacity of the plant. DWM’s initial response to the unforeseen conditions was swift and
has been continuous considering the need for a prolonged recovery. DWM provides
notification with regard to each of these events, including information regarding corrective
and mitigation actions. Notably, current corrective actions commenced prior to EPD’s
inspection. The City believes that all of these actions will return the facility to stability and
will continue the City’s long history of permit compliance.

I certify under penalty of law that this document and all attachments were prepared under
my direction or supervision in accordance with a system designed to assure that qualified
personnel properly gather and evaluate the information submitted. Based on my inquiry
of the person or persons who manage the system, or those persons directly responsible
for gathering the information, the information submitted is, to the best of my knowledge
and belief, true, accurate and complete. I am aware that there are significant penalties for
submitting false information, including the possibility of fine and imprisonment for knowing
violations.

Please contact Deirdre Edwards (470-919-2725) or dedwards@atlantaga.gov) if you
have any questions regarding this submittal or if you need additional information.


Sincerely,




Mikita K. Browning
Commissioner


Enclosures
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cc:    Alex Mohajer, Deputy Commissioner, DWM-OWP
       Quinton Fletcher, Deputy Commissioner, DWM-OWTR
       Deirdre Edwards, Watershed Manager, Environmental Compliance, DWM-OWP
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                                      APPENDIX A

                             CORRECTIVE ACTION PLAN

1. Defined corrective actions and an associated implementation schedule to return the
   drum screens to full operation.

   All drum screens have been cleaned, metal parts replaced, and motors and pumps
   repaired. All drum screens are operational as of April 19, 2024. No additional actions
   are needed.

2. Defined corrective actions and an associated implementation schedule to return the
   primary clarifiers to full operation.

   Based on a review of the 8 primary clarifiers immediately after the January 9-10, 2023
   storm event, no structural, mechanical or electrical issues were identified; as a result,
   corrective actions are limited to intense and laborious cleaning of the primary clarifiers
   to remove accumulated solids from the storm event including grinding debris, flushing
   the clarifier and draining debris from each unit. This was followed by corrective and
   preventive maintenance including checking valves and verifying system pump and
   motor operations.

   Corrective actions have been completed on three primary clarifiers and returned to
   service on the following dates: Unit No. 5 (January 12, 2024); Unit No. 7 (March 15,
   2024); and Unit No. 6 (April 10, 2024)

   Corrective actions are anticipated to be completed for the five remaining primary
   clarifiers (Unit Nos. 1, 2, 3, 4, and 8) by May 15, 2024 with no additional corrective
   actions needed.

3. Defined corrective actions and an associated implementation schedule for the repairs
   and return to full operation of the diffusers for the Biological Nutrient Reduction
   (BNR) basins.

   Three of the 14 BNR basins (3, 9, and 14) require repairs. Quotes were received for
   repairs and purchase orders were issued to third party contractors. Repairs for Basin
   9 and Basin 4 will take approximately 7 weeks each while Basin 14 will take longer
   due to lead time for materials and more extensive repair requirements. Work on Basin
   9 commenced on April 15, 2024. All work will be performed sequentially for an
   anticipated completion by December 31, 2024. As the majority of basins are
   operational, this repair schedule should not impact process operations.
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4. A schedule for maintenance for the mixed liquor wells.

   No maintenance is needed for the mixed liquor wells. No malfunctions or issues were
   noted. The mixed liquor well will be cleaned and maintained according to the regular
   preventive and corrective maintenance schedules. Cleaning to completed by August
   31, 2024.

5. Defined corrective actions and an associated implementation schedule to return the
   secondary clarifiers to full operation.

   Repairs to Clarifier Unit Nos. 1, 2, 4, and 10 are complete and the clarifiers are now
   online. The remaining clarifiers (Unit Nos. 3, 5, 6, 7, 8, 9) currently are operated in the
   hydraulic mode until repairs can be completed by third party contractors. Clarifier Unit
   Nos. 3, 7, and 9 require repairs to rotating arms and ancillary items. It is anticipated
   that seven of the ten secondary clarifiers are anticipated to be fully operational by June
   1, 2024.

   Clarifiers Unit Nos. 5, 6, and 8 require cleaning due to storm events and a complete
   rebuild of the center columns associated with their operational life cycle. Total repair
   of these units will be completed and returned to full operations by December 31, 2025.

   In addition, the eight mobile clarifying units, which commenced operation at the facility
   on March 17, 2024, will continue supporting the processing units. These mobile units
   will remain deployed until all secondary clarifiers are fully operational.

6. An updated Standard Operating Procedure (SOP) for Operations and Maintenance
   (O&M) of equipment at the RM Clayton WRC.

   RM Clayton WRC’s Standard Operating Procedure for Operations and Maintenance
   will be updated per the terms of the NPDES Permit issued on December 22, 2023.
   DWM will forward the current SOP for O&M to EPD on request.

7. An updated SOP for reporting noncompliance.

   An updated SOP for reporting noncompliance with effluent limitations has been
   implemented and is included as Appendix A.1.

8. An evaluation of potential factors resulting in the equipment failures noted at the
   Facility during the Inspection.

   Please see narrative in this letter regarding the consecutive and cumulative events
   that caused cascading impacts on the drum screens, primary clarifiers, and secondary
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   clarifiers at the RM Clayton WRC.

9. Steps that have already been taken to address the causes of equipment failure at the
   RM Clayton WRC and failures to report noncompliance appropriately.

   Please see the narrative in this letter regarding corrective actions implemented to
   restore operation of the drum screens, primary clarifiers, BNR basins and secondary
   clarifiers.

   In addition, the City has taken the following actions in response to the Inspection
   Report regarding Overall Maintenance and Operation:

      a. Outfall identification signage – March 7, 2024.
      b. Bar screen open area was covered with solid grating and replacement chain
         installed to mitigate safety hazard.
      c. Eyewash station has been repaired.
      d. UV disinfection system bypass channel has been cleaned of vegetational
         growth. Notably, this channel is not needed and is not utilized.

10. Any other actions not mentioned above, both short term and long term, planned to
   improve operation of the RM Clayton WRC with schedules, where applicable.

   DWM is always engaged in planning for potential improvements, investments, and
   equipment replacement to maintain its wastewater treatment assets in optimal
   condition. Looking out in the horizon, DWM plans to implement a capital project for
   digester improvements to support biosolids management and maintain proper process
   sludge inventor. This helps maintain a healthy bacteria population and effective sludge
   conditioning for disposal.

   DWM will soon institute a system of continuous monitoring in its trunk sewers leading
   to RM Clayton WRC. This system will monitor select pollutants for real-time
   understanding of baseline conditions and will provide advance notice of pollutant slugs
   before those slugs reach RM Clayton WRC and allow DWM more notice to take
   additional measures to mitigate impacts of the slugs. A purchase order is in place and
   the monitors have been ordered and anticipated to be operational by May 30, 2024.
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                          APPENDIX A.1.

  Standard Operating Procedure (SOP) for Reporting Noncompliance
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                            City of Atlanta-Watershed Management
                             STANDARD OPERATING PROCEDURES




                             NONCOMPLIANCE REPORTING

Issue Date: April 9, 2024

Revision Date:

FACILITY: RM CLAYTON WATER RECLAMATION CENTER (WRC)
THE       OFFICE OF WATER TREATMENT AND RECLAMATION (OWTR)

PROCEDURE: NONCOMPLIANCE REPORTING

                                         INTRODUCTION
This Standard Operating Procedure (SOP) covers the steps required for reporting any instances
of noncompliance at the RM Clayton WRC to Georgia Environmental Protection Division
(EPD). Incidences of noncompliance to be reported may include: any time the RM Clayton
WRC does not comply with effluent limitations listed in the WRC's National Pollutant Discharge
Elimination System (NPDES) permit; if an activity is anticipated to result in noncompliance with
the NPDES permit; endangering waters of the state; or any other noncompliance not covered
under other specific reporting requirements.


                                 NONCOMPLIANCE REPORTING
 1. Noncompliance reporting for violation of permitted effluent limits
     a. If for any reason the RM Clayton WRC does not comply with, or will be unable
        to comply with any effluent limitations specified in its NPDES permit, WRC staff
        shall notify the Office of Watershed Protection (OWP) - Environmental
        Compliance representative. OWP Compliance will provide EPD with:

              i. An oral report within 24 hours from the time the WRC staff becomes aware
                 of the circumstances of noncompliance and makes the initial notification.
             ii. A written report within five (5) days of becoming aware of noncompliance
                 conditions.
            iii. The written submission shall contain the following information:

                   • A description of the noncompliance and its cause; and
                   • The period of noncompliance, including the exact date and times;
                     or, if not corrected, the anticipated time the noncompliance is
                     expected to continue; and
                   • The steps taken to reduce, eliminate, and prevent recurrence of the
                     noncomplying discharge
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                         City of Atlanta-Watershed Management
                          STANDARD OPERATING PROCEDURES




                            NONCOMPLIANCE REPORTING

    b. The required written noncompliance report/letter is submitted by the designated
       OWP - Environmental Compliance representative electronically through email to
       Georgia EPD.
2. Anticipated noncompliance notification
     a. OWP - Environmental Compliance, on behalf of the RM Clayton WRC,
        shall give written notice to the EPD at least 10 days before any activity
        which may result in noncompliance with the permit.
3. Noncompliance reporting concerning endangering Waters of the State
      a. Whenever, because of an accident or otherwise, any toxic or taste and
         color producing substance or any other substance which would
         endanger downstream users of the Waters of the State or would
         damage property, is discharged into such waters, or is so placed that it
         might flow, be washed, or fall into them, OWP - Environmental
         Compliance will immediately contact Georgia EPD in person or by
         telephone of the location and nature of the danger.

             i. Environmental Compliance will also take any further reasonable
                and necessary steps to prevent injury to property and downstream
                users of said water.
            ii. If a "spill" of raw sewage, or a "major spill" (defined as 1.) discharge
                of raw sewage exceeding 10,000 gallons or that results in water
                quality violations in the Waters of the State or 2.) discharge of
                pollutants into waters of the State by a Publicly Owned Treatment
                Works (POTW) that exceeds the weekly average permitted effluent
                limit for biochemical oxygen demand (5-day)(BOD-5) or total
                suspended solids (TSS) by 50 percent or greater in one day,
                provided that the effluent discharge concentration is equal to or
                greater than 25 mg/L for BOD-5 or TSS) occurs, Environmental
                Compliance must immediately notify EPD in person or by telephone.
           iii. Only in the event of a "spill" or "major spill" of raw sewage to Waters
                of the State, in addition to immediate notification to EPD,
                Environmental Compliance will make further notifications including
                local health department, posting of public signs/notices, and local
                media. See RM Clayton NPDES permit Part II.A.11 for further
                instruction.

4. All other noncompliance
       a. OWP - Environmental Compliance must report all instances of
          noncompliance not reported under other specific reporting
          requirements, at the time monitoring reports are submitted. The reports
          shall contain all information noted above for the written noncompliance
          reporting submissions.
                                        END OF DOCUMENT

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                           APPENDIX B

                    DWM Project Plan of Action
                         June 5, 2023
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Andre Dickens                    CITY OF ATLANTA                                     Mikita K. Browning
  MAYOR                      DEPARTMENT OF WATERSHED MANAGEMENT                       COMMISSIONER
                                     72 Marietta Street, NW
                                     Atlanta, Georgia 30303


 Electronic Mail
 June 5, 2023


 Ms. Eddy Basilio
 Georgia Environmental Protection Division
 Watershed Compliance Program
 2 Martin Luther King Jr. Drive, Suite 1462, East Tower
 Atlanta, Georgia 30334

 Subject:         Influent Slug or Illicit Substances South River WRC & R.M. Clayton WRC
                 – Project Plan of Action

 Dear Ms. Basilio:

 As you are aware, there have been recent operational disruptions at both the R.M.
 Clayton and South River Wastewater Reclamation Centers (WRCs) plant are thought to
 be the result of either slug loadings, illicit discharges, or industrial user discharges. To date,
 no disruptions have occurred at the Utoy Creek WRC.

 The following outlines DWM’s WRC Preventive Plan of Action for the next forty (45) days
 to address the plant process disruptions. This action plan is structured to identify and focus
 on possible sources located upstream of the facility. And the goal of this plan of action
 project is to prevent WRC effluent exceedances that could be caused by such
 disruptions.

 Summary of Findings:

         Higher than normal plant influent amounts of Ammonia Nitrogen have been
          observed adversely impacting the settleability of sludge in the secondary clarifiers,
          and resulting in higher effluent TSS, Ammonia, BOD5, and Phosphorus levels.
         Slug is adversely impacting the bacteria in the Biological Nutrient Removal (BNR)
          basins.
         Effluent permit exceedances have been determined not a result of plant
          operations or equipment malfunctions.
         The frequency of slugs has been reoccurring since March. Future influent “slugs”
          are anticipated will occur. (The use of the term slugs in this project includes illicit or
          industrial user discharges.)
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Influent Illicit Substances South River WRC & R.M. Clayton WRC
– Project Plan of Action

June 5, 2023

       Slugs are not originating from runoff in the combined sewer system (CSS) tributary
        sewers.
       Septic hauler discharges to the R.M. Clayton WRC are temporarily suspended for
        the project duration and until the source is identified.


Project Plan of Action Plan/Approach:

   A. Field Sampling Team
        a. Temporarily pause on all existing scheduled or routine industrial sampling tasks
           and focus available resources on efforts to trace possible sources of the slugs.
        b. Conduct in-system sampling to identify any influent nutrient exceedance that
           may be source(s).
        c. Deploy samplers and ensure they are placed on all influent trunk sewers that
           convey wastewater flows to the R.M. Clayton and South River WRC facilities.
        d. Deploy samplers to relevant lift/pumping stations and strategic locations that
           serve each respective WRC facility.
        e. Collect daily composite samples to isolate sewers and analyze for trends.
        f. Utilize sample data results from the daily composite samples to establish the
           baseline and identify any anomalies and/or spikes.

   B. Industrial Pretreatment Team
        a. Continue to contact Industrial Users and perform random inspections.
        b. Request that Industrial Users hold/throttle back flows to assist with the
           investigation. (It is expected that industrial permittees, Coca-Cola and Unifirst,
           will likely not be able to hold flow for a significant amount of time.)
        c. Perform additional drive-by inspections, including the Non-Significant Industrial
           Users within the respective basins, and continue to search and identify any
           potential unpermitted dischargers within the respective basins.

   C. Water Reclamation Center Team
      a. Truck-in sludge from our nearby wastewater plant to introduce healthy
         bacteria back into the plant process.
      b. Modify chemical dosing/addition to gain compliance.
      c. Add new micronutrients resilient to lower pH to support aerobic bacteria
         growth.
      d. Add nitrifying bacteria to increase ammonia removal capability.
      e. Ensure adequate routine solids removal and closely monitor sludge blanket
         levels.
      f. Continue utilization of mobile centrifuge to increase solids removal capabilities.




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Influent Illicit Substances South River WRC & R.M. Clayton WRC
– Project Plan of Action

June 5, 2023

   D. Project Leadership
      a. Ensure the laboratory is appropriately staffed and prepared to receive and
         process increase number of samples.
       b. Verify plant sampling locations and seek validation from WRC operators.
       c. Develop schedule for coverage of samplers.
       d. Develop communication protocols and team expectations to foster
          coordinated tasks.
       e. Review strategic sample locations and upstream redeployment strategies, as
          required.
       f. Schedule reoccurring update meetings with Project Team and internal
          stakeholders.
       g. Daily review of plant influent and effluent laboratory results.

Please contact Alex Mohajer of my staff at (404-546-1356; amohajer@atlantaga.gov ) if
                                                             31TA                           U 31T




you have any questions regarding this response or if any additional information is needed.


Sincerely,


Mikita K. Browning
Commissioner


CC:    Alex Mohajer, Deputy Commissioner, DWM-OWP
       Quinton Fletcher, Deputy Commissioner, DWM-OWTR




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                            APPENDIX C

       Notice Concerning Endangering Water of the State to EPD
                            April 2, 2024
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Andre Dickens                     CITY OF ATLANTA                                   Mikita K. Browning
  MAYOR                        DEPARTMENT OF WATERSHED MANAGEMENT                    COMMISSIONER
                                       72 Marietta Street, NW
                                       Atlanta, Georgia 30303
 Electronic Mail
 April 2, 2024

 Ms. Eddy Basilio
 Georgia Environmental Protection Division
 Watershed Compliance Program
 2 Martin Luther King Jr. Drive, Suite 1462, East Tower
 Atlanta, Georgia 30334

 Subject: Notice Concerning Endangering Waters of the State
               Major Spill for Total Suspended Solids (TSS)
               RM Clayton Water Reclamation Center

 Dear Ms. Basilio:

 Please find the information required by Section 391-3-6-.03 (a) of the Georgia Rules and
 Regulations for Water Quality Control for the above referenced TSS exceedance that
 was reported to the Environmental Protection Division (EPD) on March 27, 2024 after
 sample results were received and internal discussions were held.

         U   GEMA Incident Number (if applicable): Not Applicable
                                                    U




         D   Date (s) of the Incident: Please see dates referenced below.

         Location: RM Clayton Water Reclamation Center, 2440 Bolton Road, N.W.,
          L              U




          Atlanta, Georgia 30318

         R   Results:

    Date of Composite               TSS Results         TSS Permit            Comments
         Sample                                            Limit
              3/7/2024              119 mg/L            25 mg/L           Major Outfall Spill
              3/8/2024              103 mg/L            25 mg/L           Major Outfall Spill
              3/9/2024              479 mg/L            25 mg/L           Major Outfall Spill
              3/10/2024             120 mg/L            25 mg/L           Major Outfall Spill
              3/11/2024              86 mg/L            25 mg/L           Major Outfall Spill
              3/12/2024              59 mg/L            25 mg/L           Major Outfall Spill
              3/13/2024              44 mg/L            25 mg/L           Major Outfall Spill
              3/16/2024              97 mg/L            25 mg/L           Major Outfall Spill
              3/17/2024              59 mg/L            25 mg/L           Major Outfall Spill
              3/23/2024              33 mg/L            25 mg/L           Major Outfall Spill
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Notice Concerning Endangering Waters of the State
Major Spill for Total Suspended Solids (TSS)
RM Clayton Water Reclamation Center
April 2, 2024



Cause: R.M. Clayton WRC received high Influent flows as the result of several major rainfall
events that occurred in February and March 2024. For each rain event, over 2 inches of
rain was measured at the plant.

The plant experienced peak flows as high as 240 MGD. The treatment process was
disrupted by the large amounts of flows and debris. This caused the Secondary Clarifiers
to overflow the sludge blankets, overload the effluent sand filters, and resulting in high
total suspended solids in the plant effluent.

Since the rain event, large amounts of denitrified sludge in the Secondary Clarifiers
intermittently overloads the effluent sand filters. We have raised the return sludge rate
from the secondary clarifiers to send more sludge back to the Aeration Basins at a faster
rate to lessen denitrification of the sludge and return more bacteria. We are currently
performing preventive and corrective maintenance on several of the Secondary
Clarifiers.

After assessment of operations at RM Clayton, only one out of the ten clarifiers are
currently out of service. DWM has developed and is implementing a mitigation plan for
the clarifiers, which includes sequential repair of critical mechanical units. This includes
an active vendor solicitation to acquire the necessary mechanical process parts for
installation. The status of the clarifiers at RM Clayton are as follows:

       Clarifier No. 1 – Fully operational.
       Clarifier No. 2 – Fully operational.
       Clarifier No. 3 – Was taken offline for Corrective Maintenance on March 25, 2024.
        It is currently being drained.
        Clarifier No. 4 – Receiving flow in hydraulic mode operation. The rotating arm
        was stopped after excessive torque triggered an alarm. Corrective maintenance
        to drain, clean, and inspect scheduled for April 8, 2024.
       Clarifier No. 5 – Partial operational (Drained, Cleaned and Inspected). Placed
        back in service with the rotating arm not working.
       Clarifier No. 6 – Receiving flow in hydraulic mode operation. The rotating arm
        was stopped after excessive torque triggered an alarm. Corrective maintenance
        to drain, clean, and inspect scheduled for April 15, 2024.
       Clarifier No. 7 – Fully operational.
       Clarifier No. 8 – Receiving flow in hydraulic mode operation. The rotating arm
        was stopped after excessive torque triggered an alarm. Corrective maintenance
        to drain, clean, and inspect scheduled for April 22, 2024.
       Clarifier No. 9 – Was taken offline for Corrective Maintenance on March 23, 2024.
        It was drained, cleaned, and inspected. The rotating arm is being repaired. It's
        estimated to take two additional days to complete the repairs.
       Clarifier No. 10 – Fully operational.
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Notice Concerning Endangering Waters of the State
Major Spill for Total Suspended Solids (TSS)
RM Clayton Water Reclamation Center
April 2, 2024

The Department has solicited bids to repair Clarifier Nos. 5, 6, and 8. The contract is
estimated to be issued in April 2024. Repair work is estimated to be complete on the
following dates.
          o Secondary Clarifier No. 5: September 1, 2024.
          o Secondary Clarifier No. 6: November 1, 2024.
          o Secondary Clarifier No. 8: January 1, 2025.


Receiving Stream: Chattahoochee River


Corrective Actions Being Taken:

       Operations staff have increased the return activated sludge rate by increasing
       the return activated sludge flow to BNR basins.

       Modifying chemical dosing/addition of disinfectants to gain compliance.

       Adding nitrifying bacteria to increase ammonia removal capability.

       Plant personnel operated the plant with all available equipment online.

       Mobilized eight (8) mobile clarifiers to aid and augment the current treatment
       process.


Please contact Deirdre Edwards (470-919-2725) or dedwards@atlantaga.gov) if you have
any questions regarding this submittal or if you need additional information.


Sincerely,




Mikita K. Browning
Commissioner


CC:    Alex Mohajer, Deputy Commissioner, DWM-OWP
       Quinton Fletcher, Deputy Commissioner, DWM-OWTR
       Deirdre Edwards, Watershed Manager, Environmental Compliance, DWM-OWP
